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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                            Case No: 16-20893- Moreno

   UNITED STATES OF AMERICA
                     Plaintiff
   vs.

   MONTY RAY GROW
                        Defendant
   ________________________________/

     MOTION FOR PRODUCTION OF EVIDENCE PURSUANT TO BRADY V,
              MARYLAND AND GIGLIO V. UNITED STATES

   COMES NOW the Defendant Monty Grow, by and through Reizenstein and Sola,

   PA., Philip L. Reizenstein, Esq. and hereby files this motion for production of

   evidence pursuant to Brady v. Maryland, 373 U.S. 83 (1983) and Giglio v. United

   States, 405 U.S. 150 (1972):


    1. Monty Grow was tried and convicted of multiple counts in this case relating to

       health care fraud and the payment and receipt of kickbacks as well as one

       count of money laundering. [DE115].

    2. Grow’s sentence on Count One, which charged a multiple conspiracy of wire

       fraud and health care fraud was reversed for failure to instruct the jury

       properly. United States v. Grow, 977 F.3d 1310 (11th Cir. 2021).

    3. The government elected to have Grow resentenced on the less serious charge

       of health care fraud. Sentencing is set for April 5, 2021.
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       4. The main witness in the trial against Grow was his former co-defendant

          Ginger Lay.

       5. Lay was significantly rewarded for her cooperation with a sentence of 21

          months when her guidelines called for a sentence of 57-71 months. [DE197:

          26].

       6. There are several inconsistences in Lay’s testimony at various hearings before

          this court, which the defense is asking the Court to review and order either an

          evidentiary hearing or a response from the Government and disclosures

          pursuant to their obligations in Brady v. Maryland.

       7. At Lay’s change of plea hearing this court asked Ms. Lay whether she had any

          prior “record”. Both the government and Lay answered in the negative.

          DE196: 13].

       8. The defense has learned that that at the time of the change of plea Ms. Lay

          had a prior conviction in Desoto County, Mississippi, Docket Number

          140004158 in which on 9/30/2014 she was sentenced to inter alia, house

          arrest for a misdemeanor. 1




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    It is acknowledged that generally misdemeanors cannot be used for impeachment under Fed. R.
   Evid 609. Lay was not truthful to the court when she denied both a prior arrest and conviction
   and having prior psychiatric treatment. To the extent her denials were under oath, the defense
   may well have successfully been able to introduce her non-truthful statements as impeachment
   evidence of her failure to take her oath to tell the truth seriously.
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    9. It is not known if or when the Government was aware of this. To the extent

       Lay was not truthful before this court at her change of plea and sentencing and

       the government did not disclose it, there may be a violation of the principles

       contained in Brady v. Maryland, 373 U.S. 83 (1983) that would require this

       Court to hold a hearing pursuant to Giglio v. United States, 405 U.S. 150, 153

       (1972): “ As long ago as Mooney v. Holohan, 294 U.S. 103, 112, 55 S.Ct.

       340, 342 (1935), this Court made clear that deliberate deception of a court

       and jurors by the presentation of known false evidence is incompatible with

       ‘rudimentary demands of justice.” Id.

    10. Ms. Lay’s sentencing transcript refers to Ms. Lay’s work as a cooperating

       witness on other cases: “She provided extraordinary cooperation, not only

       against Mr. Grow, but against other people that the Government may, in fact,

       later prosecute.” [DE197: 21].

    11. Ms. Lay’s sentencing memorandum also details a prior suicide attempt and

       “being house in a psychiatric facility.” [DE176: 5]. At her change of plea Ms.

       Lay denied any prior psychiatric treatment:

       The Court: “Have you ever been—these are questions I ask everyone who
       pleads guilty. Have you been to a psychiatrist or a mental institution?”
       Ms. Lay: “No Sir.”
   [DE196: 6].

         This statement, like Lay’s denial of a prior arrest and conviction was

       patently false.
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    12. Finally, there is also an issue with a potential witness named Billy Burton

       that the defense wanted to call at trial. The availability of Mr. Burton as a

       potential defense witness was raised by Daniel Rashbaum- Mr. Grow’s

       counsel at the time-at the calendar call on January 16, 2018. [DE80]. The

       government responded about Mr. Burton: “He is going to be charged. He

       signed a plea agreement.” [Exhibit One, Transcript of January 16, 2018, p.

       20] (emphasis added). Our investigation reveals that Mr. Burton did not sign a

       plea agreement until July 19, 2018, seven months after the Government told

       the court Mr. Burton had signed a plea agreement. [USA v. Burton, 18-CR-

       60164/Dimitrouleas, Southern District of Florida, DE7]. Mr. Burton received

       medicines that were ordered and also worked to recruit patients and

       representatives. In a 302-report disclosed to the defense Burton was reported

       to have said that Grow told him “there are two things he always had to follow.

       First, he can’t give a payment to a patient to get a prescription, second, the

       patient can never lie to the doctor about their diagnosis.” [Exhibit One,

       Transcript of January 16, 2018, p. 18]. Burton’s availability as a witness was

       thwarted by the government listing him as a target of a federal investigation.

       The government should be required to address the discrepancy between what

       the court was told at the calendar call and when in fact Mr. Burton received a

       plea agreement.

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                                       ARGUMENT

         The prosecution has an obligation to disclose favorable material at least

   through the sentencing process if not beyond. Scott v. United States, 890 F.3d

   1239, 1258 (11th Cir. 2018): “As we have noted, Tompkins based its determination

   that all Brady claims are necessarily “second or successive” on its conclusion that

   all Brady claims ripen during trial or, at the latest, sentencing.”

         When a Brady violation occurs, a defendant is entitled to a new trial. Brady,

   373 U.S. at 87, 83 S.Ct. 1194. In Scott v. United States, the court held:

                [a] prosecution that withholds evidence ... which, if made
          available, would tend to exculpate [the defendant] or reduce the
          penalty[,] ... casts the prosecutor in the role of an architect of a
          proceeding that does not comport with standards of justice, even
          though ... his action is not ‘the result of guile.’ Put simply, a criminal
          defendant does not receive a fair trial when a Brady violation occurs.
   Scott v. United States 890 F.3d at 1251, citing Brady v Maryland, 373 U.S. at 87-

   88, 83 S.Ct. 1194.



   A. LAY’S STATUS AS AN INFORMANT ON OTHER CASES WAS NOT
   DISCLOSED TO THE DEFENSE:

         The government had an obligation to disclose Lay’s status as an informant

   on other cases, as it was an additional benefit the government was conferring on

   Lay as well as it is well recognized that the status of being informant can




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   negatively affect a witness’s credibility. “The use of informers ... may raise serious

   questions of credibility.” See Robinson v. Mills, 592 F.3d 730, 737 (6th Cir. 2010):

                Indeed, jurors often have a negative predisposition toward
         informants. Ordinary decent people are predisposed to dislike,
         distrust, and frequently despise criminals who ‘sell out’ and become
         prosecution witnesses. Jurors suspect their motives from the moment
         they hear about them in a case, and they frequently disregard their
         testimony altogether as highly untrustworthy and unreliable....

   Id. citing On Lee v. United States, 343 U.S. 747, 757, 72 S.Ct. 967 (1952);

   Stephen S. Trott, Words of Warning for Prosecutors Using Criminals as

   Witnesses, 47 Hastings L.J. 1381, 1385 (1996).

         Lay’s work for the government outside of her cooperation against Grow

   created a larger potential bias then her simple desire to obtain a lower sentence in

   her case. The Court in Robinson v. Mills stated:

               The suppressed evidence could have also supported the
        assertion that at the time of trial, Sims was biased in favor of the local
        authorities. The term “bias” describes “the relationship between a
        party and a witness which might lead the witness to slant,
        unconsciously or otherwise, his testimony in favor of or against a
        party.” United States v. Abel, 469 U.S. 45, 52, 105 S.Ct. 465, 83
        L.Ed.2d 450 (1984). Bias is “not limited to personal animosity against
        a defendant or pecuniary gain.” Schledwitz v. United States, 169 F.3d
        1003, 1015 (6th Cir.1999). Instead, it includes mere “employment or
        business relationships” with a party and “is always relevant in
        assessing a witness's credibility.”
   Robinson v. Mills, 592 F.3d at 737.

         It was unknown to the defense about Lay’s status as being an informant on

   other cases until well after the trial in this matter. The government should disclose

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   all agreements it had with Lay. See also United States v. Shaffer, 789 F.2d 682,

   688–89 (9th Cir. 1986):

         Using the Bagley standard set forth above, we conclude that the
         information withheld from Shaffer regarding Durand was material and
         should have been disclosed by the government.
         Specifically, Shaffer alleged that the government failed to disclose:
         (1) that Robert Durand was a paid informant in a separate heroin
         operation during the years 1980 and 1981; (2) the full benefits and
         promises that Durand received in exchange for his cooperation; (3) the
         full extent of Durand's assets; and (4) the status of Durand's tax
         liability. Shaffer argued that these facts, if used at trial, would have
         had a substantial effect on Durand's credibility and would have
         resulted in Shaffer's acquittal.
         Because Durand's testimony implicating Shaffer was critical to
         Shaffer's conviction, the jury's assessment of Durand's credibility was
         crucial to the outcome of the trial.


   B. THE EVIDENCE SOUGHT SHOULD BE DISCLOSED PURSUANT TO
   BRADY AND GIGLIO

         To establish a Brady violation, the defendant must show that: (1) the

   government possessed evidence favorable to the defendant, (2) the defendant did

   not possess the evidence and could not have obtained it with due diligence, (3) the

   government suppressed the evidence, and (4) there was a reasonable probability of

   a different outcome had the evidence been disclosed to the defendant. “The mere

   possibility that an item of undisclosed information might have helped the defense,

   or might have affected the outcome of the trial, does not establish prejudice.”

   United States v. Zamor, 19-10208, 2021 WL 567515, at *7 (11th Cir. Feb. 16,

   2021) (internal citations omitted). Impeachment evidence is subject to disclosure
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   under Brady. United States v. Bagley, 473 U.S. 667, 676, 105.S. Ct. 3375, 3380

   (1985). Undisclosed evidence is material if "there is a reasonable probability

   that, had the evidence been disclosed to the defense, the result of the proceeding

   would have been different." Id. at 682, 105 S.Ct. at 3383. A reasonable

   probability is "a probability sufficient to undermine confidence in the outcome."

   Id.

         In order to succeed on a Giglio challenge, the defendant must demonstrate

   that the prosecutor “knowingly used perjured testimony, or failed to correct

   what he subsequently learned was false testimony, and that the falsehood was

   material.” United States v. Vallejo, 297 F.3d 1154, 1163–64 (11th Cir. 2002)

   citing United States v. Dickerson, 248 F.3d 1036, 1041 (11th Cir.2001), cert.

   denied, 536 U.S. 957, 122 S.Ct. 2659, 153 L.Ed.2d 835 (2001). In the light most

   favorable to the government, the government failed to correct falsehoods in Lay’s

   testimony denying her lack of a prior record and denying her prior psychiatric

   treatment when they learned about it- either at the change of plea hearing, at the

   time Lay filed her sentencing memorandum, or at sentencing.

         The information the government did not disclose about Lay- the main

   witness against Grow- strikes at the heart of the government’s case. Lay’s

   credibility was at issue . Grow’s trial counsel had no ability to defend Grow at trial

   by discrediting Lay as a mentally unstable individual who was being employed by

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   the government and who did not take her oath to tell the truth seriously because

   she hid from this court her prior arrest record and psychiatric history.

   Depending on the underlying facts, courts have ruled that evidence of a witness’s

   mental health should be disclosed as relevant impeachment evidence. East v. Scott,

   55 F.3d 996, 1003 (5th Cir. 1995) (“Given the importance of Hardaway's testimony

   to the prosecution's case during sentencing, her mental records are likely material

   as impeachment evidence because they cast doubt on the accuracy of her

   testimony.”).

           Pursuant to the local rules defense counsel sent a letter requesting the Brady

   material listed in this motion to the Assistant United States Attorney and received

   an automatic email response that he was out of the office. Because the Eleventh

   Circuit’s decision in Scott v. United States negatively affects a defendant’s ability

   to file subsequent Brady motions, and the dicta in the decision in Scott v. United

   States about the applicability of Brady motions prior to sentencing, this motion was

   filed without obtaining the position of the Assistant United States Attorney on this

   case.

           WHEREFORE, the defense requests this Court to either hold an evidentiary

   hearing on this matter or order the Government to address the inconsistencies in

   their disclosures regarding witness Burton and all information they have about Lay

   including the time when they received it.

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               Respectfully Submitted,

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